            Case 2:19-cv-02553-JMY Document 55 Filed 04/07/23 Page 1 of 4




                                     IN THE UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   United States of America ex rel.                           :             Civil Action
   Ellsworth Associates, LLP                                  :
                   v.                                         :
                                                              :
   CVS Health Corporation et al.
                                                              :             No.: 2:19-CV-02553-JMY


                                                           ORDER

                   AND NOW, this                  day of                                     20     , it is hereby

                                                   Michael von Klemperer
                   ORDERED that the application of ____________________________________, Esquire,

to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) is


                        GRANTED.1

                        DENIED.




                                                                                                         , J.




1 Instructions to request electronic filing access can be found on this court's website at https://www.paed.uscourts.gov/

nextgen-cmecf.
                       Case 2:19-cv-02553-JMY Document 55 Filed 04/07/23 Page 2 of 4
                                                  IN THE UNITED STATES DISTRICT COURT
                                                FOR THE EASTERN DISTRICT OFPENNSYLVANIA

                                                                                                 Civil Action No#
                                                                                                                    2:19-CV-02553-JMY

                          APPLICATION FORM FOR THOSE ATTORNEYS SEEKING TO PRACTICE IN THIS COURT
                                    PURSUANT TO LOCAL RULE OF CIVIL PROCEDURE 83.5.2(b)

I. APPLICANT’S STATEMENT

         I, Michael von Klemperer                                 the undersigned, am an attorney who is not currently admitted to
either the bar of this court or the bar of the Supreme Court of Pennsylvania, and I hereby apply for admission to practice in this
court pursuant to Local Rule of Civil Procedure 83.5.2(b), and am submitting a check, number               , for the $40.00 admission
fee.

A.      I state that I am currently admitted to practice in the following state jurisdictions:
                      District of Columbia             May 16, 2014                 1015460
                   (State where admitted)               (Admission date)            (Attorney Identification Number)


                      (State where admitted)            (Admission date)            (Attorney Identification Number)


                      (State where admitted)            (Admission date)            (Attorney Identification Number)


B.      I state that I am currently admitted to practice in the following federal jurisdictions:
                   U.S. Court of Appeals for
                   the Federal Circuit             July 25, 2014                    N/A
                   (Court where admitted)            (Admission date)               (Attorney Identification Number)
                   U.S. District Court for the
                   District of Columbia            April 5, 2021                    1015460
                    (Court where admitted)            (Admission date)              (Attorney Identification Number)
                   U.S. District Court for the
                   Eastern District of Wisconsin
                                                   October 18, 2013                 5109376
                    (Court where admitted)            (Admission date)              (Attorney Identification Number)

C.      I state that I am at present a member of the aforesaid bars in good standing, and that I will demean myself as an attorney
        of this court uprightly and according to law, and that I will support and defend the Constitution of the United States.

        I am entering my appearance for                ___________________________________________
                                                       (Applicant’s Signature)
         Plaintiff/Relator Ellsworth Associates, LLP
                                                         04/07/2023
                                                        ___________________________________________
                                                        (Date)

            Name of Applicant's Firm         Baron & Budd, P.C.
            Address                          600 New Hampshire Ave., N.W., 10th Floor, Washington, D.C. 20037
           Telephone Number                  (202) 227-5574
           Email Address                     mvonklemperer@baronbudd.com

       I declare under penalty of perjury that the foregoing is true and correct.


                   04/07/2023
       Executed on __________________________                                     ______________________________________
                            (Date)                                                        (Applicant’s Signature)

                                                                                                                              04/20
               Case 2:19-cv-02553-JMY Document 55 Filed 04/07/23 Page 3 of 4

 II. SPONSOR’S STATEMENT, MOTION AND CERTIFICATE OF SERVICE

           The undersigned member of the bar of the United States District Court for the Eastern District of Pennsylvania
 hereby moves for the admission of Michael von Klemperer                                                              to practice
 in said court pursuant to Local Rule of Civil Procedure 83.5.2(b), and certify that I know (or after reasonable inquiry believe)
 that the applicant is a member in good standing of the above- referenced state and federal courts and that the applicant’s
 private and personal character is good. I certify that this application form was on this date mailed, with postage prepaid, to
 all interested counsel.

 William G. Powers
 ______________________              _________________________
                                                                             6/27/2019
                                                                             ____________________
                                                                                                       316876
                                                                                                       ___________________
 (Sponsor’s Name)                    (Sponsor’s Signature)                   (Admission date)           (Attorney
                                                                                                       Identification No.)


 SPONSOR’S OFFICE ADDRESS AND TELEPHONE NUMBER:

   600 New Hampshire Ave., N.W., 10th Floor, Washington D.C. 20037
   (202) 333-4562




I declare under penalty of perjury that the foregoing is true and correct.


             4/7/2023
Executed on __________________________                          ____________________________________________
                       (Date)                                                (Sponsor’s Signature)
           Case 2:19-cv-02553-JMY Document 55 Filed 04/07/23 Page 4 of 4




                                   IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  United States of America ex rel.                        :             Civil Action
  Ellsworth Associates, LLP                               :
                  v.                                      :
                                                          :
  CVS Health Corporation et al.
                                                          :             No.: 2:19-CV-02553-JMY


                                             CERTIFICATE OF SERVICE

                                                                                       Michael von Klemperer
                 I declare under penalty of perjury that a copy of the application of _________________________,

Esquire, to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and the relevant proposed

Order which, if granted, would permit such practice in this court was served as follows:


Served on all counsel of record via ECF.




                                                                        ____________________________________
                                                                        (Signature of Attorney)
                                                                         William G. Powers
                                                                        ____________________________________
                                                                        (Name of Attorney)
                                                                         Plaintiff/Relator Ellsworth Associates, LLP
                                                                        ____________________________________
                                                                        (Name of Moving Party)
                                                                         04/07/2023
                                                                        ___________________________________
                                                                        (Date)
